           Case 2:19-cv-00002-JM Document 50 Filed 09/25/20 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                   DELTA DIVISION

JEFFERY ANDREW KELLY                                                            PLAINTIFF
ADC #148842

V.                                  No. 2:19CV00002-JM

JEREMY ANDREWS, Warden,
East Arkansas Regional Unit, ADC, et al.                                    DEFENDANTS


                                           JUDGMENT

       Consistent with the Order entered separately today, this case is dismissed without

prejudice. All relief sought is denied, and the case is closed.

       IT IS SO ORDERED this 25th day of September, 2020.



                                                            ________________________________
                                                            UNITED STATES DISTRICT JUDGE
